 Case 2:20-cr-00023-HYJ-MV ECF No. 71, PageID.210 Filed 05/05/21 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,
                                                             Case No. 2:20-cr-23
v.
                                                             Hon. Hala Y. Jarbou
NANITA SHARI MUNNS,

      Defendant.
__________________________________/

                ORDER ADOPTING REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action (ECF No. 67). The Report and Recommendation was duly served

on the parties, and no objection has been made thereto within the time required by law. Based on

this, and on the Court’s review of all matters of record, including the audio transcript of the plea

proceedings, IT IS ORDERED that:

1.     The Report and Recommendation of the Magistrate Judge (ECF No. 67) is approved and

       adopted as the opinion of the Court.

2.     Acceptance of Defendant's plea of guilty is held in abeyance pending Defendant’s personal

       appearance at sentencing now scheduled for August 5, 2021.

3.     Defendant shall remain on bond pending sentencing.



 Dated:    May 5, 2021                                /s/ Hala Y. Jarbou
                                                     HALA Y. JARBOU
                                                     UNITED STATES DISTRICT JUDGE
